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Dear Clerk of the Court for the Northern District of California,

       Please find, attached, a new complaint and In Forma Pauperis filing fee. Per Judge Trina
Thompson's order on August 31, 2023,1 am also including a copy of her order. This complaint should
be submitted to the "Duty Judge"(whatever that means)for a § 1915 review for frivolousness.

       Per lines 15-18 of this order, here is my statement about why 1 believe the case should be
allowed to proceed:

        Because, as I have thoroughly explained in the Complaint, this is a blatant case of the defendant
violating my copyright by taking far, far more than what he actually needs in order to make his
criticism. If he had simply removed the parts of my videos he didn't need in order to make his criticism,
he would have had a much stronger case. His case for fair use is downright delusional, and that is why I
have a colorable cause of action.


        One excerpt from that complaint you should especially take a look at is 66-67, which
references a YouTube video I made on this subject, the url of which is provided in f 38 of the
Complaint. Specifically, notice ^ 67(e), where 1 explain that even YouTube's own lawyers agreed that it
wasn't fair use after manually vetting it.

       Therefore, I hope that the duty judge (whoever he may be) approves this complaint.

        Please assign a case number to this complaint ASAP, because only by providing that will I be
able to prevent the videos from being reinstated pursuant to a DMCA Counter-Notification.


                                                                                               Sincerely,



                                                                                         David Stebbins
                                                                                     123 W. Ridge Ave.,
                                                                                                    APTD
                                                                                    Harrison, AR 72601
                                                                                        (870)212-4947
                                                                                  acerthorn@yahoo.com
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            1   m.      CONCLUSION

            2          For the foregoing reasons. Plaintiffs motion for leave to file amended complaint is
            3   DENIED, Plaintiffs partial motion for summaiy judgment is DENIED, Plaintiffs motion to
           4    strike is DENIED, Defendant's motion to dismiss is GRANTED, and Defendant's motion to

            5   declare Plaintiff a vexatious litigant is GRANTED. Plaintiff may not amend his complaint.
            6          In addition. Plaintiff David A. Stebbins is DECLARED a vexatious litigant in tliis
            7   District. As such, (1) any fiitiue actions against Google LLC, YouTube LLC, Alphabet Inc.. or
            8   any of their affiliates, or (2) any claim of copyright infihigement or copyiight-related claims
            9   against any defendant, Mr. Stebbins must fu st provide a copy of his complaint and tliis Order to
           10   tlie Clerk of this Coiul, along with a letter requesting the complaint be filed. Tlie Clerk shall then
           11   forward tlie complaint, letter, and copy of tliis Order to the Duty Judge for a detenuination

      (4   12   whether the complaint should be accepted for filing. Plaintiff is warned that any violation of this
O^         13   order will expose him to contempt proceedings and appropriate sanctions, and any action filed in
      c4
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is
           14   violation of this Order will be subject to dismissal.
crt   O

Q          15           Fiutliemiore, in any fiitme action in tliis District hi wliich Mi'. Stebbins seeks to proceed in
S is
■2 Q       16   fonna pauperis. a copy of tins Order shall be attached to the application seeking to proceed in
^  C
T3 C
           17   forma paupens along with a statement seeking screening of the complaint and a statement
5 t:
           18   explaining why tlie action should be allowed to proceed.
           19           Tliis Order tennhiates ECF Nos. 31, 32,49,61.

           20           IT IS SO ORDERED.

           21   Dated: August 30, 2023

           22

           23
                                                                               TRINA L.^ffiOMP^ON
           24
                                                                               United States District Judge
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